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                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

LATOYA BROWN; et al                                                                  PLAINTIFFS

v.                                                                  Civ. No. 3:17cv347-CWR-LRA

MADISON COUNTY, MISSISSIPPI; et al                                                DEFENDANTS


             DEFENDANTS’ MOTION FOR A SETTLEMENT CONFERENCE

        Defendants, Madison County, Mississippi, and Sheriff Randall C. Tucker, collectively

“Defendants,” by and through counsel, file the following Motion for a Settlement Conference in

this matter pursuant to Local Rule 16(g), and would show unto the Court in support thereof the

following:

        1.      Because settlement is favored under the law, the Court’s inherent power and the

Local Uniform Rules of the United States District Courts for the Southern District of Mississippi

allow this Court to convene a settlement conference at any time as the interests of justice dictate.

        2.      As explained in the accompanying supporting memorandum, this case is currently

in a procedural posture that could foster fruitful settlement discussions.        The parties have

exchanged settlement offers. However, unless this matter is resolved with the Court’s assistance,

the parties will expend tremendous resources in re-filing and re-briefing the various motions and

further litigating the merits of Plaintiffs’ individual class claims.

        3.      The Court’s involvement at this point would serve to ensure that the settlement

discussions would be productive in potentially ending any further expenditure of the parties’ or

the Court’s resources. If convened, this would be the first settlement conference in this case.

        4.      Accordingly, pursuant to Local Rule 16(g) and for all the reasons set forth in the

Memorandum in Support of this Motion filed concurrently, Defendants request that this Court
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convene a settlement conference to be attended by all parties and their counsel to take place with

all due haste. 1

        Respectfully submitted this 12th day of February, 2019.

                                                  MADISON COUNTY, MISSISSIPPI and
                                                  SHERIFF RANDALL C. TUCKER, IN
                                                  HIS OFFICIAL CAPACITY


                                                  BY:     /s/ Michael B. Wallace
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           Defendants plan to file a separate motion requesting that this Court enter a temporary stay of the
deadlines for defendants to respond to both Plaintiffs’ Amended Complaint and the pending second motion
for class certification and motion for leave to file a Second Amended Complaint.
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                                 CERTIFICATE OF SERVICE

        I, Michael B. Wallace, hereby certify that I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will automatically send email notification of such filing
to the following:

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       So, certified this the 12th day of February, 2019.

                                                      /s/ Michael B. Wallace
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